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MIDDLE DISTRICT OF FLoRIDA %§§`:.V ¢~`f, <-
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KERRY leA & MARIO vINA, s /_
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Plaimiffs cASE No. 8'»\% ° \/ "
, z 113 (T‘s o q?T
vs. JuRY TRIAL DEMANDEI)
ALLY FINANCIAL, INC.,
Defendant.
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Plaintiffs, Ken'y Vina (“Kerry”) & Mario Vina (“Man'o”), allege the following Complaint
against Defendant, Ally Financial, Inc. (“Defendant”):

l. This is an action for damages for violations of the Telephone Consumer Protection
Act, 47 U.S.C. §227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat.
§§ 559.55 et seq. (“FCCPA”).

PARTIES

2. Plaintifl`s are “consumers” as that term is defined by Fla. Stat. § 559.55(2).

3. Defendant is a foreign company that conducts business in Florida. Defendant has a
registered agent located in the state of Florida, and the actions forming the basis of this Complaint
took place at Plaintiff’s home location in this district.

4. Defendant is a “person” subject to regulation under Fla. Stat. § 559.72.

5. Ken'y is the subscriber, regular user and carrier of the cellular telephone number,

(352-XXX-1854), and was the called party and recipient of Defendant’s autodialer calls.

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6. Kerry is the subscriber, regular user and carrier of the cellular telephone number,
(727-XXX-6649), and was the called party and recipient of Defendant’s autodialer calls.

7. Mario is the subscriber, regular user and carrier of the cellular telephone number,
(352-XXX-2422), and Was the called party and recipient of Defendant’s autodialer calls.

JURISDICTION AND VENUE

8. Thjs Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 for the
TCPA claim, and should exercise supplemental jurisdiction over the state FCCPA claims pursuant
to 28 U.S.C. § l367(a), as such claims are so closely related so as to form part of the same case or
controversy.

9. Venue is proper in this District pursuant to 28 U.S.C. § l39l(b)(2), in that the acts
giving rise to this action occurred in this District.

FACTUAL ALLEGATIONS

10. Plaintiffs allegedly incurred a consumer debt with Defendant (hereinaiter “Subject
Debt”).

ll. The Subject Debt is considered a “consumer debt” as defined by the FCCPA, as it
constitutes an obligation for the payment of money arising out of a transaction in which the money
and/or services which was the subject of the transaction was primarily for Plaintiffs’ personal,
family, or household purposes.

12. In or around February, 2018, Plaintiffs became delinquent on the Subject Debt.

13. As a result, Defendant began a campaign of harassing calls to Plaintiffs’ cell phone
in an attempt to collect the Subject Debt.

14. In or around May, 2018, Plaintiffs attempted to set up a payment plan with

Defendant. Plaintiffs explained their financial hardship, but Defendant informed them that the calls

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would continue until they Were current on payment Plaintiffs requested Defendant to stop calling
their cell phones.

15. Despite this, Defendant has continued to place automated calls, artificial voice calls,
and pre-recorded voice calls to Plaintiffs’ cell phones.

16. Defendant left pre-recorded messages on Plaintiii`s’ cell phones.

17. Further, Defendant has a corporate policy to use an Automatic Telephone Dialing
System (as defined by the TCPA) and has numerous other federal lawsuits pending against them
alleging similar violations and facts as stated in this complaint.

18. Despite Plaintiffs informing Defendant for their reason of non-payment towards the
Subject Debt and taking all reasonable measures at negotiating a resolution to the Subject Debt, the
Defendant continued its efforts to try and collect the Subject Debt from Plaintiifs. As a result,
Defendant’s subsequent attempts to persuade Plaintiffs were made with the intent to simply exhaust
Plaintiffs’ will and harass Plaintiffs.

19. Defendant’s conduct has caused Plaintiffs to suffer injuries in fact through
significant anxiety, emotional distress, frustration, and anger.

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VIOLATIONS OF TI~[E TELEPHONE COMSUMER PROTECTION ACT
47 U.S.C. § 227 et seq.

20. Plaintiff incorporates by reference paragraphs 1 through 19 of this Complaint as
though fully stated herein.

21. It is a violation of the TCPA to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using any automatic
telephone dialing system or an artificial or prerecorded voice to any telephone number assigned

to a . .. cellular telephone service ...” 47 U.S.C. § 227(b)(1)(A)(iii).

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22. The Defendant placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice, without
Plaintiff’s consent in violation of 47 U.S.C. § 227(b)(l)(A)(iii).

23. Plaintiff revoked any prior express consent Defendant had to call PlaintiH’s cellular
telephone number. As such, the Defendant’s calls were willful or knowing. See 47 U.S.C. §
312(f)(1).

24. As a result of the Defendant’s conduct and pursuant to Section 227(b)(3) of the
TCPA, Plaintiff was harmed and is entitled to a minimum of 3500 in damages for each violation.

25. Because the Defendant knew that Plaintiff had revoked prior express consent to
receive their autodialed and prerecorded voice calls to her cellular telephone - and /or willfully used
an automatic telephone dialing system and/or prerecorded voice message to call Plaintiff’s cellular
telephone without prior express consent - Plaintiff requests the Court to treble the amount of
statutory damages available to Plaintiff pursuant to 47 U.S.C. § 227(b)(3).

WHEREFORE, Plaintiff demands judgment against the Defendant for damages, costs, and
such further relief as this Court deemsjust and proper.
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VIOLATIONS OF THE TELEPHONE COMSUMER PROTECTION ACT
48 U.S.C. § 227 et seq.

26. Plaintiff incorporates by reference paragraphs 1 through 19 of this Complaint as
though fully stated herein.

27. It is a violation of the TCPA to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using any automatic
telephone dialing system or an artificial or prerecorded voice to any telephone number assigned

to a cellular telephone service ...” 47 U.S.C. § 227(b)(1)(A)(iii).

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28. The Defendant placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice, without
Plaintiffs consent in violation of 47 U.S.C. § 227(b)(1)(A)(iii).

29. Plaintiff revoked any prior express consent Defendant had to call Plaintiff s cellular
telephone number. As such, the Defendant’s calls were willful or knowing. See 47 U.S.C. §
312(i)(l).

30. As a result of the Defendant’s conduct and pursuant to Section 227(b)(3) of the
'I`CPA, Plaintiff was harmed and is entitled to a minimum of $500 in damages for each violation.

31. Because the Defendant knew that Plaintiff had revoked prior express consent to
receive their autodialed and prerecorded voice calls to her cellular telephone - and /or willfully used
an automatic telephone dialing system and/or prerecorded voice message to call Plaintiff’s cellular
telephone without prior express consent - Plaintiff requests the Court to treble the amount of
statutory damages available to Plaintiff pursuant to 47 U.S.C. § 227(b)(3).

WHEREFORE, Plaintiff demands judgment against the Defendant for damages, costs, and
such fiirther relief as this Court deems just and proper.
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VIOLATIONS OF THE FLORIDA CONSUMER COLLECTIONS PRACTICES ACT
FLORIDA STATUTES § 559.55 et seq.

32. Plaintiff incorporates by reference paragraphs 1 through 19 of this Complaint as
though fully stated herein.

33. The foregoing acts and omissions of Defendant constitute a violation of the FCCPA:

a. Fla. Stat. 559.72(7): Willfully communicate with the debtor or any

member of her or his family with such frequency as can reasonably be

expected to harass the debtor or her or his family, or willfully engage in

other conduct which can reasonably be expected to abuse or harass the
debtor or any member of her or his family.

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34. As a result of Defendant’s violation of the FCCPA, pursuant to Fla. Stat. § 559.77
Plaintiff is entitled to damages in an amount up to $1,000.00 for violation of the FCCPA, actual
darnages, plus reasonable attomeys’ fees and costs.

WHEREFORE, Plaintiff demands judgment for actual and statutory damages, attomeys’
fees, costs, and such further relief as this Court deems just and proper.

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VIOLATIONS OF THE FLORIDA CONSUMER COLLECTIONS PRACTICES ACT
FLORIDA STATUTES § 559.55 et seq.

35. Plaintiff incorporates by reference paragraphs l through 19 of this Complaint as
though fully stated herein.

36. The foregoing acts and omissions of Defendant constitute a violation of the FCCPA:
a. Fla. Stat. 559.72(7): Willfully communicate with the debtor or any
member of her or his family with such frequency as can reasonably be
expected to harass the debtor or her or his family, or willfully engage in
other conduct which can reasonably be expected to abuse or harass the

debtor or any member of her or his family,
37. As a result of Defendant’s violation of the FCCPA, pursuant to Fla. Stat. § 559.77
Plaintiff is entitled to damages in an amount up to $1,000.00 for violation of the FCCPA, actual

damages, plus reasonable attomeys’ fees and costs.

WHEREFORE, Plaintiff demands judgment for actual and statutory damages, attomeys’

fees, costs, and such further relief as this Court deemsjust and proper.

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DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury on all issues so triable.

     

/s/

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